Case 2:04-cV-O2367-BBD-tmp Document 19 Filed 08/03/05 Page 1 of 2 Page|D 45

 

a
lN THE uNlTED sTATEs DlsTRlcT couRT "E° B"' do
FoR THE wEsTERN DlsTRlc'r or= TENNEssEE 05 AUG _
wEsTERN DlvlsloN 3 PH 3= 00
iu M GOL
arm `”3`° » w
BARBARA J. oWENs, ;WUG;¢.",_ F‘{ l`t’;:%€ls}lm
Piaintifr,

vs. No. 04cv2367 '“:D
JuRY DEMANDED

WAL-MART STORES, !NC.,

Defendant.

 

ORDER GRANT|NG MOT|ON
FOR EXTENS|ON OF TlME TO D|SCLOSE EXPERTS

 

|t appearing to the Court based upon the combined lV|otion and Memorandum of
Plaintiff to extend deadline to disclose experts should be granted
|T |S THEREFORE ORDERED, ADJUDGED AND DECREED that P|aintiff shall
have until October 1, 2005 to disclose its proposed experts and that the Defendant shall
have until November 1, 2005 to disclose its experts.
M
Judge

p

Thls documententered onthe dockets co l nc€_’ Datedi A\IW"E' 3120°3_
U f

with Flu|e 58 and/or 79(a) FF£CP on

l

H:\JSK\OWENS,Barbara.O15134\P|eadings\0rder.OB-1-05.wpd

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:04-CV-02367 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

Jill M. Steinberg

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

Memphis7 TN 38103

J ames S. King

THE BOGATIN LAW FIRM
1661 International Place Dr.
Ste. 300

Memphis7 TN 38120

Honorable Bernice Donald
US DISTRICT COURT

